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                                  Service List Page 1 of 2



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                                                            Harrisburg, PA 17128-0946
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